

Matter of Gann (2022 NY Slip Op 05195)





Matter of Gann


2022 NY Slip Op 05195


Decided on September 15, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:September 15, 2022

PM-163-22
[*1]In the Matter of Kelsey Jean Gann, an Attorney. (Attorney Registration No. 5731955.)

Calendar Date:September 12, 2022

Before:Lynch, J.P., Clark, Aarons, Pritzker and Ceresia, JJ.

Kelsey Jean Gann, Stanwood, Washington, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Kelsey Jean Gann was admitted to practice by this Court in 2019 and lists a business address in Mount Vernon, Washington with the Office of Court Administration. Gann now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Gann's application.
Upon reading Gann's affidavit sworn to July 21, 2022 and filed September 1, 2022, and upon reading the September 9, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Gann is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Lynch, J.P., Clark, Aarons, Pritzker and Ceresia, JJ., concur.
ORDERED that Kelsey Jean Gann's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Kelsey Jean Gann's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Kelsey Jean Gann is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Gann is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Kelsey Jean Gann shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








